  8:90-cr-00127-JFB      Doc # 1805     Filed: 08/17/07   Page 1 of 1 - Page ID # 731




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )                   8:90CR127
                                           )
             v.                            )
                                           )                    ORDER
RODNEY RUMSEY,                             )
                                           )
                    Defendant.             )
                                           )


      This matter is before the court following a hearing on defendant’s motion for early

termination of supervision. Filing No. 1799. Upon consideration, the motion shall be

granted and the judgment of $10,854.00 for supervision costs is set aside.

             THEREFORE, IT IS ORDERED that defendant’s motion for early termination

of supervision, Filing No. 1799, is granted and the supervision costs are set aside.

      DATED this 17th day of August, 2007.
                                         BY THE COURT:



                                         s/Joseph F. Bataillon
                                         Chief U.S. District Judge
